                                    In the United States District Court
                                for the Eastern District of North Carolina
                                             Eastern Division


 Karol Huffman,
                                                      Case No. 4:19-cv-00034
         On behalf of herself and those
         similarly situated,

                  Plaintiff,                          Judge Louise Wood Flanagan

         v.

 Team Carolinas, Inc., et al,

                  Defendants.


                                              ORDER


        This matter comes before the Court on the Parties Joint Motion to Stay Proceedings and

advising the Court that a settlement has been reached. After consideration of the Motion, I grant

the Motion and order as follows:

        1. The Parties are directed to file a Motion to Approve Settlement and the Settlement

              Agreement on or before May 29, 2020.

        2. All deadlines in this matter are stayed pending the filing of the Motion to Approve the

              Settlement.

IT IS SO ORDERED.
 5/11/20
___________                              _______________________________________
Date                                     The Honorable Louise Wood Flanagan
                                                U.S. District Judge




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